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 7
                                  IN THE UNITED STATES DISTRICT COURT
 8
                                     EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                           CASE NO. 2:19-MJ-121 DB

11                                 Plaintiff,            STIPULATION AND [PROPOSED] ORDER
                                                         VACATING PRELIMINARY HEARING
12                           v.

13   JASON TORRES,

14                                 Defendant.

15

16           IT IS HEREBY STIPULATED AND AGREED between the parties and their respective counsel,

17 Assistant United States Attorney Matthew Thuesen on behalf the United States of America, and Jordan

18 Morgenstern (“Defense Counsel”), counsel for defendant Jason Torres (“Defendant”), as follows:

19           1.      On August 1, 2019, law enforcement arrested Defendant based on a complaint filed in the

20 District of New Jersey. Defendant appeared before the Honorable Deborah Barnes in the Eastern District

21 of California for an initial appearance on the same day and requested a preliminary hearing, which

22 currently is scheduled for August 15, 2019, in the Eastern District of California.

23           2.      On August 13, 2019, Defendant filed a preliminary hearing waiver in the District of New

24 Jersey, which is attached as Exhibit A.

25           3.      Defendant now requests that the preliminary hearing scheduled in this District be

26 vacated.

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        STIPULATION AND [PROPOSED] ORDER                 1
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 1         IT IS SO STIPULATED.

 2

 3   Dated: August 13, 2019                               MCGREGOR W. SCOTT
                                                          United States Attorney
 4

 5                                                        /s/ Matthew Thuesen
                                                          MATTHEW THUESEN
 6                                                        Assistant United States Attorney
 7

 8   Dated: August 13, 2019                               /s/ Jordan Morgenstern (with consent)
                                                          JORDAN MORGENSTERN
 9                                                        Counsel for Defendant
10

11

12                                         [PROPOSED] ORDER

13         Upon stipulation of the parties and good cause having been shown, the Court ORDERS that the

14 preliminary hearing scheduled for August 15, 2019, is vacated.

15         IT IS SO ORDERED.
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17   Dated: August 15, 2019.
                                                    THE HON. EDMUND F. BRENNAN
18                                                  UNITED STATES MAGISTRATE JUDGE

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      STIPULATION AND [PROPOSED] ORDER                2
